Case 14-10979-CSS Doc 9011-3 Filed 07/26/16 Page 1of6

Exhibit B

Schedule of Contested Pro Se Claims

RLFI 14897549y.1

Case 14-10979-CSS Doc 9011-3 Filed 07/26/16 Page 2 of 6

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Case 14-10979-CSS Doc 9011-3 Filed 07/26/16 Page 3 of 6

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Case 14-10979-CSS Doc 9011-3 Filed 07/26/16 Page 4 of 6

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Case 14-10979-CSS Doc 9011-3 Filed 07/26/16 Page 5of6

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Case 14-10979-CSS Doc 9011-3 Filed 07/26/16 Page 6 of 6

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